       Case 1:25-cv-10910-ADB             Document 61      Filed 05/20/25      Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER, et al.
                                 Plaintiffs,              Case No. 1:25-CV-10910-ADB
                v.

 UNITED STATES DEPARTMENT OF
 DEPARTMENT OF JUSTICE, et al.,
                                 Defendants.

   JOINT MOTION TO STAY DEFENDANTS’ DEADLINE TO FILE ANSWER OR
          OTHERWISE RESPOND TO FIRST AMENDED COMPLAINT

        Plaintiffs American Association of University Professors—Harvard Faculty Chapter, et

 al. and Defendants United States Department of Justice, et al. (collectively, the “Parties”) hereby

 move this Court to stay Defendants’ deadline to file their Answer or otherwise respond to

 Plaintiffs’ Amended Complaint, ECF No. 50,1 until 30 days after the Court has ruled on the

 parties’ dispositive motions.

        In support of the motion, the parties state as follows:

        1.      Following the Court’s April 28, 2025 Status Conference in the related case,

 President and Fellows of Harvard College v. U.S. Dep’t of Health and Human Services, et al.,

 No. 25-cv-11048, the Court set a deadline of May 5 for Plaintiffs in this case to file an Amended

 Complaint, and May 19, 2025 for Defendants in this case to produce the Administrative Record




1 Plaintiffs’ (unopposed) Motion for Leave to File Second Amended Complaint (ECF No. 55) is

currently pending with the Court. Should the Court allow Plaintiffs’ Motion, the Parties jointly
request the same relief with respect to Defendants’ deadline to file their Answer or otherwise
respond to Plaintiffs’ Second Amended Complaint (currently filed as ECF No. 55 -1).


                                                 1
      Case 1:25-cv-10910-ADB           Document 61       Filed 05/20/25      Page 2 of 4




in this case, ECF No. 49. The Court set a briefing schedule in this case to match that which the

Court set in the related Harvard case.

       2.      On May 5, 2025, Plaintiffs filed their Amended Complaint. ECF No. 50.

       3.      Shortly after Plaintiffs filed their Amended Complaint, Harvard subsequently

received a letter from Defendant Linda E. McMahon (dated May 5, 2025) informing Harvard

that any future grant applications submitted by Harvard would be denied.

       4.      Harvard has also received grant award termination letters from several

Defendants, including the National Institutes of Health (dated May 6, 2025), the United States

Department of Agriculture (dated May 9, 2025); and the Department of Defense, Department of

Energy, Department of Housing and Urban Development, and the National Science Foundation

(dated May 12, 2025).

       5.      On May 16, 2025, Plaintiffs filed their unopposed Motion for Leave to File

Second Amended Complaint and attached as an Exhibit their proposed Second Amended

Complaint, which added allegations addressing each of these letters. ECF Nos. 55, 55-1.

       6.      The parties have conferred and agreed that all non-privileged materials directly

or indirectly considered in the issuance of these letters shall be included in the Administrative

Record that will be produced by Defendants on May 19, 2025. In light of this agreement, the

current briefing schedule continues to be amenable to the parties.

       7.      In addition, the parties have conferred and have agreed to stay Defendants’

deadline to file their Answer or otherwise respond to Plaintiffs’ Amended Complaint, ECF No.

50, of Plaintiffs’ Second Amended Complaint (currently, ECF No. 55-1) until 30 days after the

Court has ruled on the parties’ dispositive motions.




                                                2
      Case 1:25-cv-10910-ADB           Document 61        Filed 05/20/25      Page 3 of 4




       8.      In light of the Parties’ agreements, the Parties respectfully request that the Court

enter an Order staying Defendants’ deadline to answer or otherwise respond to Plaintiffs’

Amended Complaint or Second Amended Complaint until 30 days after the Court has ruled on

the parties’ dispositive motions.



 Dated: May 20, 2025                          Respectfully submitted,



                                       By:      /s/ Joseph M. Sellers
 Philippe Z. Selendy*                         Joseph M. Sellers*
 Sean P. Baldwin*                             Benjamin D. Brown*
 Corey Stoughton*                             Phoebe M. Wolfe*
 Julie Singer*                                Margaret (Emmy) Wydman*
 Drake Reed**                                 COHEN MILSTEIN SELLERS & TOLL PLLC
 SELENDY GAY PLLC                             1100 New York Ave NW, 8th Floor
 1290 Avenue of the Americas 20th             Washington, DC 20005
 Floor                                        (202) 408-4600
 New York, NY 10104                           jsellers@cohenmilstein.com
 Tel: 212-390-9000                            bbrown@cohenmilstein.com
 pselendy@selendygay.com                      pwolfe@cohenmilstein.com
 sbaldwin@selendygay.com                      ewydman@cohenmilstein.com
 cstoughton@selendygay.com
 jsinger@selendygay.com                       Daniel H. Silverman (BBO# 704387)
 dreed@selendygay.com                         COHEN MILSTEIN SELLERS & TOLL PLLC
                                              769 Centre Street
 * Admitted pro hac vice                      Suite 207
 ** Pro hac vice application                  Boston, MA 02130
 pending                                      (617) 858-1990
                                              dsilverman@cohenmilstein.com

                                              Attorneys for Plaintiffs




                                                3
      Case 1:25-cv-10910-ADB         Document 61       Filed 05/20/25     Page 4 of 4




Dated: May 20, 2025                           Respectfully submitted,

                                               LEAH B FOLEY
                                               United States Attorney

                                       By: /s/ Anuj K. Khetarpal
                                              Anuj K. Khetarpal
                                              Assistant United States Attorney
                                              United States Attorney’s Office
                                              John Joseph Moakley U.S. Courthouse
                                              1 Courthouse Way, Suite 9200
                                              Boston, MA 02210
                                             (617) 748-3658
                                              anuj.khetarpal@usdoj.gov

                                              Attorneys for Defendants


                              CERTIFICATE OF SERVICE


       I hereby certify that this document, filed through the CM/ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF).




Dated: May 20, 2025                     By:        /s/ Anuj Khetarpal
                                                   Anuj Khetarpal
                                                   Assistant United States Attorney




                                              4
